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                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF OREGON

                                                              Civil Case No. 3:16cv01756íYY
                                                                             ____________
NECAíIBEW PENSION TRUST FUND, et al.
______________________________________                        APPLICATION FOR SPECIAL
       Plaintiff(s),                                          ADMISSION – PRO HAC VICE
v.

PRECISION CASTPARTS CORP., et al.
______________________________________
       Defendant(s).



       Attorney DANIELLE S. MYERS                              requests special admission pro hac vice in
the above-captioned case.

Certification of Attorney Seeking Pro Hac Vice Admission: I have read and understand the
requirements of LR 83-3, and certify that the following information is correct:

       (1)     PERSONAL DATA:
               Name:        Myers                   Danielle                      S.
                       (Last Name)                  (First Name)                  (MI)       (Suffix)

               Firm or Business Affiliation: Robbins Geller Rudman & Dowd LLP
               Mailing Address:           655 West Broadway, Suite 1900

               City: San Diego                            State: CA                Zip: 92101
               Phone Number: (619) 231-1058                        Fax Number: (619) 231-7423
               Business E-mail Address: danim@rgrdlaw.com




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       (2)     BAR ADMISSIONS INFORMATION:
               (a)       State bar admission(s), date(s) of admission, and bar ID number(s):
                        California State Bar, December 4, 2008, 259916




               (b)      Other federal court admission(s), date(s) of admission, and bar ID number(s):
                        See attachment




       (3)     CERTIFICATION OF DISCIPLINARY ACTIONS:
               (a)   ✔ I am not now, nor have I ever been subject to any disciplinary action by any
                     ‫܆‬
                       state or federal bar association; or

               (b)   ‫ ܆‬I am now or have been subject to disciplinary action from a state or federal bar
                       association. (See attached letter of explanation.)

       (4)     CERTIFICATION OF PROFESSIONAL LIABILITY INSURANCE:
               Per LR 833(a)(3), I have professional liability insurance, or financial responsibility
               equivalent to liability insurance, that meets the insurance requirements of the Oregon
               State Bar for attorneys practicing in this District, and that will apply and remain in force
               for the duration of the case, including any appeal proceedings.

       (5)     REPRESENTATION STATEMENT:
               I am representing the following party(s) in this case:
                NECA-IBEW Pension Trust Fund (The Decatur Plan), and ANGELA LOHMANN,
                AS TRUSTEE OF THE ANGELA LOHMANN REVOCABLE TRUST, Individually
                and on Behalf of All Others Similarly Situated, Plaintiffs




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                             ATTACHMENT



Court:                              Admission Date:           Bar ID #:
Southern District of California       12/04/2008                 n/a
Central District of California        12/30/2008                 n/a
Northern District of California       12/30/2008                 n/a
Northern District of Illinois          5/17/2012            ILND-GB-5711
(General Bar)
District of Colorado                   4/16/2009                 n/a
Eastern District of Michigan           6/29/2016                 n/a
Ninth Circuit Court of Appeals         3/12/2009                 n/a
Tenth Circuit Court of Appeals         3/23/2012                 n/a
